                              IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                       ASHEVILLE DIVISION
                               CRIMINAL CASE NO. 1:01-cr-48-MR-DLH

              UNITED STATES OF AMERICA         )
                                               )
                            vs.                )                   ORDER
                                               )
              ANDRE BERNARD WHITESIDE          )
              ________________________________ )


                       THIS MATTER is before the Court on the Defendant’s Motion for

              Reduction of Sentence filed pursuant to 18 U.S.C. § 3582(c)(2) and U.S.S.G.

              § 1B1.10(c), Amend. 780 (Nov. 1, 2014). [Doc. 660].

                       The Probation Office has submitted a supplement to the Defendant’s

              Presentence Report indicating that he may be entitled to immediate release.

              Based thereon, the Court determines that the United States Attorney should

              file a response to the Defendant’s Motion.

                       IT IS, THEREFORE, ORDERED that no later than seven (7) days from

              the entry of this Order, the United States Attorney shall file a pleading

              responsive to Defendant’s Motion for Reduction of Sentence.

                       IT IS SO ORDERED.
Signed: May 13, 2015




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